UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE GRAND JURY SUBPOENA DATED                                        :     24-MC-104 (JMF)
FEBRUARY 23, 2024                                                      :
                                                                       :     SEALED ORDER
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JESSE M. FURMAN, United States District Judge:

       Earlier today, the Court issued an Opinion and Order granting the Government’s motion
to compel compliance with a grand jury subpoena dated February 23, 2024.

        No later than April 2, 2024, the Government shall show cause in writing why that
Opinion and Order and the other filings in this case — including the parties’ submissions, the
Court’s Order of March 8, 2024, and this Order — cannot be filed publicly in redacted form
(and, if appropriate, proposing redactions). See, e.g., United States v. Rechnitz, 75 F.4th 131,
146 (2d Cir. 2023) (“[C]ourts are often confronted with information that may not be appropriate
for public disclosure, such as grand jury materials . . . . But the proper way to address any
overriding interests in the confidentiality of such information — whether temporary or longer
term — is not to keep it off the record. Instead, the court should ensure that the information is
placed on the record in some appropriate fashion and then carefully evaluate whether sealing or
some other precautionary measure is warranted.”); see also, e.g., United States v. Ulbricht, 858
F.3d 71, 106-08 (2d Cir. 2017) (discussing the rationales for keeping grand jury materials secret),
abrogated on other grounds by Carpenter v. United States, 585 U.S. 296 (2018); Scheider v.
Wallace, No. 93-CV-62 (RWS), 1996 WL 633226, at *2 (S.D.N.Y. Oct. 31, 1996) (ordering
publication of an opinion, “with materials directly referring to grand jury proceedings redacted
and with the addition of annotations explaining the omissions,” on the ground that that “[struck]
the proper balance between the need for public access to a Court’s decision and the need to
maintain the secrecy of . . . grand jury proceedings”).

        SO ORDERED.

Dated: March 26, 2024                                      __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                 United States District Judge
